Case 2'05-er-20127-.]DB Doeument 23 Filed 06/01/05 Page 1 of 2 Page|D 12

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IN THE UNITED STATES DISTRlCT COURT j "`

 

 

FOR THE WESTERN DISTRICT OF TENNESSEE@§ ,,, J-_,__,, ` F_ _
WESTERN DIVISION " "/§”?' 9-' 12
'J-‘,_;_-;," l 5-¥` “..;_`_-`l\\':.€>
W 52 r;';.-,';"; "`;“f.f'§;"z CT.
UNITED STATES OF AMERlCA, ~~:'».-'fa'-ag
vs. No. 05~20127-Ma
BHUTTER HARDEEP SINGH,

Defendant.

ORDER GRANTING MOTION TO WAJVE APPEARANCE AT REPORT DATE

defendant may Waive his personal appearance

IT ls 80 ORDERED this 3l-‘ \aay OfMay, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

   

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Honorable Samuel Mays
US DISTRICT COURT

